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     John Balazs, Bar. No. 157287
1    Attorney At Law
     916 2nd Street, Suite F
2    Sacramento, California 95814
     Telephone: (916) 447-9299
3    Facsimile: (916) 557-1118
     john@balazslaw.com
4
     Attorney for Defendant
5    JUAN RAMIREZ CAMPOS
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9                                            UNITED STATES DISTRICT COURT
10                                          EASTERN DISTRICT OF CALIFORNIA
11
     UNITED STATES OF AMERICA,                           No. 2:95-CR-0020-WBS
12
13                             Plaintiff,                STIPULATION AND ORDER TO CONTINUE
                                                         BRIEFING SCHEDULE RE: MOTION TO
14             v.                                        REDUCE SENTENCE PURSUANT TO 18
                                                         U.S.C. § 3582(c)(2)
15   JUAN RAMIREZ CAMPOS,

16                             Defendant.
                                                         Hon. William B. Shubb
17
18             Defendant, JUAN RAMIREZ CAMPOS, by and through his attorney, John Balazs, and
19   plaintiff, UNITED STATES OF AMERICA, by and through its counsel, Assistant U.S. Attorney
20   Jason Hitt, hereby stipulate to extend the briefing schedule regarding defendant’s §3582(c)(2)

21   motion by four weeks as follows:

22             Defendant’s Amended Mtn Due:                                March 18, 2016
23
               Government’s Response Due:                                  April 15, 2016
24
25             Defendant’s Reply Brief Due:                                April 22, 2016

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     Stipulation and Order Re: Sentence Reduction         1
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1              This request is made because the defendant needs additional time to obtain documents

2    and prepare an amended motion. The defendant’s projected release date is January 24, 2021.

3    Dated: January 8, 2016                         Dated: January 8, 2016

4
     BENJAMIN B. WAGNER
5    United States Attorney

6
      /s/ Jason Hitt                                 /s/John Balazs
7    JASON HITT                                     JOHN BALAZS
     Assistant U.S. Attorney
8
     Attorney for Plaintiff                         Attorney for Defendant
9    UNITED STATES OF AMERICA                       JUAN RAMIREZ CAMPOS

10
11                                                  ORDER

12             IT IS SO ORDERED.

13   Dated: January 8, 2016

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     Stipulation and Order Re: Sentence Reduction      2
